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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

DEANN WALTER,                   )
5138 Dartmoor Place,            )
Frederick, Maryland 21703       )
an individual,                  )                     Case No.:
                                )
            Plaintiff,          )
                                )
v.                              )
                                )
PIKE PARK ASSOCIATES LIMITED )
PARTNERSHIP,                    )
2800 Quarry Lake Drive          )
Suite 340                       )
Baltimore, MD 21209             )
a Maryland Limited Partnership, )
                                )
            Defendant.          )

                                          COMPLAINT

       Plaintiff, DEANN WALTER (“MS. WALTER”), an individual, by and through her

undersigned counsel, hereby files this Complaint and sues Defendant PIKE PARK

ASSOCIATES LIMITED PARTNERSHIP, a Maryland Limited Partnership, for injunctive

relief, attorneys’ fees and costs pursuant to 42 U.S.C. §§ 12181 et seq., (“Americans with

Disabilities Act” or “ADA”) and states as follows:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and the Local Rules

of the United States District Court for the District of Maryland.

       3.      MS. WALTER is a resident of the State of Maryland.
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        4.         MS. WALTER suffers from Multiple Sclerosis (MS) and is disabled. MS.

WALTER’s disability, at all times material hereto, impairs her ability to walk, a major life

activity, and requires her to use a scooter and/or cane to ambulate.

        5.         Due to her disability, MS. WALTER is substantially impaired in several major

life activities.

        6.         Defendant, PIKE PARK ASSOCIATES LIMITED PARTNERSHIP, is a

Maryland Limited Partnership, with its principal office in Baltimore, Maryland. Upon

information and belief, Defendant is the record owner, leasor, and/or operator of the place of

public accommodation including the real property and improvements which is the subject of this

action, to wit: Pike Park Plaza (“the Property”) generally located at 6512 Baltimore National

Pike, Catonsville, Maryland 21228.          The Defendant is responsible for complying with the

obligations of the ADA.

        7.         All events giving rise to this lawsuit occurred in the District of Maryland.

                                         COUNT I
                            (VIOLATION OF TITLE III OF THE ADA)

        8.         The allegations set forth in the foregoing paragraphs are incorporated by reference

as if fully set forth herein.

        9.         The Property, which is a shopping plaza, is a place of public accommodation and

is subject to the ADA.

        10.        MS. WALTER has visited the Property and plans to return to the Property in the

near future.

        11.        During her visits, MS. WALTER experienced serious difficulty accessing the

goods and utilizing the services at the Property due to the architectural barriers discussed herein.


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       12.      Due to these barriers, MS. WALTER was denied and continues to be denied the

full and equal enjoyment of the goods and services offered at the Property.

       13.       MS. WALTER intends to and will visit the Property in the near future to utilize

the goods and services it offers, but fears that she will encounter serious difficulty due to the

barriers discussed herein which still exist.

       14.       Defendant has discriminated and continues to discriminate against MS.

WALTER in violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.302 et seq. by

excluding and/or denying MS. WALTER the benefits of the goods and services located on the

Property by failing to provide and/or correct, inter alia, the following barriers to access which

were personally observed and encountered by MS. WALTER:

             A. Inaccessible parking at the Property due to excessive slopes and pavement

                in disrepair;

             B. Inaccessible curb ramps due to lack of level landings, excessive slopes, side

                flares with excessive slopes, a lack of proper handrails, and failure to

                provide a smooth transition at the bottom of each of these curb ramps;

             C. Inaccessible routes throughout the property due to sidewalks with excessive

                slopes and lack of handrails particularly near Sports Authority, Beauty 4U,

                and Alko Clothing & Shoe Outlet;

             D. Inaccessible checkout/service counters throughout the Property due to

                excessive height; and

             E. Inaccessible pedestrian routes from parking spaces designated as accessible



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               to the sidewalk curb cuts due to severely sloped routes.

       15.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.     Independent of her intent to return as a patron of the Property, MS. WALTER

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       17.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.

       18.     Removal of the barriers to access located on the Property would allow MS.

WALTER to fully utilize the goods and services located therein.

       19.     MS. WALTER has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. MS. WALTER is entitled to have her reasonable attorneys’ fees,

costs, and expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

       WHEREFORE, MS. WALTER demands judgment against Defendant and requests the

following injunctive and declaratory relief:

                   A. That the Court declare that the Property owned, administered

                       and/or operated by Defendant is in violation of the ADA;

                   B. That the Court enter an Order directing Defendant to alter its

                       facilities to make it accessible to and useable by individuals with

                       disabilities to the full extent required by Title III of the ADA;


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      C. That the Court enter an Order directing Defendant to evaluate and

         neutralize their policies and procedures towards persons with

         disabilities and to undertake and complete corrective procedures to

         the full extent required by the Title III of the ADA;

      D. That the Court award reasonable attorneys’ fees, costs (including

         expert fees), and other expenses of suit, to MS. WALTER; and

      E. That the Court awards such other and further relief as it deems

         necessary, just and proper.



                        Respectfully Submitted,


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